 Fill in this information to identify the case:

 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________ District of __________

 Case number            ___________________________________________




                               410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: _______________________________________                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           3 ____
                                                         ____ 3 ____
                                                                 5 ____
                                                                     9               Must be at least 21 days after date       _____________
                                                                                     of this notice


                                                                                     New total payment:                        $ ___
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                _________________________________________________________________________                      _____________________
                _
                Current escrow payment: $ _______________                          New escrow payment:       $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
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Debtor 1         _______________________________________________________                       Case number   (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



     _____________________________________________________________                             Date    ___________________
     Signature




 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company            _________________________________________________________



 Address            _________________________________________________________
                    Number                 Street

                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      ________________________                                                   Email bankruptcy@zbslaw.com
                                                                                                     ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
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 1                                    CERTIFICATE OF SERVICE
 2          I, Michele Dapello, certify that I am a resident of Orange County, I am over the age of
 3
     eighteen (18) and not a party to the within action, and that my business address is: 30 Corporate
 4
     Park, Suite 450, Irvine, CA 92606.
 5
            On February 26, 2020, I served the within NOTICE OF MORTGAGE PAYMENT
 6

 7   CHANGE on all interested parties in this proceeding by placing a true and correct copy thereof

 8   enclosed in a sealed envelope with postage pre-paid in the United States Mail at Irvine,

 9   California, addressed as follows:
10
      Mauro Lopez
11    Mandy Lopez
      6663 Highland Cir
12    Kelseyville, CA 95451

13
            In addition to any paper copies served by U.S. Mail, registered ECF participants,
14

15   including parties who have requested Special Notice in this case, will receive an electronic copy

16   of the foregoing document when it has been filed with the Court.
17            Evan Livingstone, Attorney           evanmlivingstone@gmail.com
              David Burchard, Trustee              TESTECF@burchardtrustee.com
18
              Office of the U.S. Trustee / SR      USTPRegion17.SF.ECF@usdoj.gov
19

20                   I certify under penalty of perjury the foregoing is true and correct.

21                         Executed on February 26, 2020, at Irvine, California.

22
                                                                  /s/ Michele Dapello
23                                                                  Michele Dapello
24

25

26

27

28
                                                       1
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